12 F.3d 204
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.George Alvin CANTRELL, Plaintiff-Appellant,v.Beverly JONES, Defendant-Appellee.
    No. 93-6169.
    United States Court of Appeals, Fourth Circuit.
    Nov. 30, 1993.
    
      Appeal from the United States District Court for the District of South Carolina, at Florence.
      George Alvin Cantrell, Appelant Pro Se.
      D.S.C.
      AFFIRMED.
      Before WILKINS, NIEMEYER and HAMILTON, Circuit Judges.
      PER CURIAM:
    
    OPINION
    
      1
      George Alvin Cantrell appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983 (1988).  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.*  Cantrell v. Jones, No. CA-92-3361-4-21AK (D.S.C. Nov. 25, 1992).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    
      
        *
         We express no opinion on the merits of Cantrell's state law claims.  See S.C.Code Ann. Sec. 44-29-135 (1991 Supp.)
      
    
    